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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


     RICHARD M. ZELMA                                  Civil Action
           Plaintiff,
     v.                                                 2:18-cv-14655-KM-SCM

     AUDINA HEARING INSTRUMENTS,                       PRETRIAL SCHEDULING ORDER
     INC., et al
                 Defendants.

          For the reasons set forth on the record today,

          IT IS on this Wednesday, January 22, 2020,

          ORDERED THAT:

   1. The Court will hold an in-person conference on 3/31/2020 to resolve the issue of
   diversity jurisdiction; discuss settlement; and hear defense counsel’s anticipated motion
   to withdraw. Defense counsel and each defendant must appear with settlement authority
   before Judge Mannion at 2:00 p.m. Plaintiff Richard Zelma may appear by telephone
   because of his disability.

   2. The motion to withdraw shall be filed no later than 2/21/2020 and will be returnable
   on 3/31/2020.

   3. FAILURE TO FOLLOW THIS ORDER OR ANY SUBSEQUENT
   SCHEDULING ORDERS WILL RESULT IN SANCTIONS PURSUANT TO
   Fed.R.Civ.P. 16(f) and 37.




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   Original: Clerk of the Court
   Hon. Kevin McNulty, U.S.D.J.
   cc: All parties
       File
